                           UNITED STATES DISTRICT COURT

                          WESTERN DISTRICT OF LOUISIANA

                                   LAFAYETTE DIVISION

SARA L. CONNER                                ) CIVIL ACTION NO. 15-1649
                                              )
VERSUS                                        ) JUDGE HAIK
                                              )
TANIA NANNA, THE UNITED                       ) MAGISTRATE JUDGE HILL
STATES DEPARTMENT OF                          )
AGRICULTURE, AND SECRETARY                    )
TOM VILSACK

                 MEMORANDUM IN SUPPORT OF DEFENDANT=S
               MOTION TO DISMISS IMPROPER PARTY DEFENDANTS
                 AND SUBSTITUTE PROPER PARTY DEFENDANT

                                       I.   Introduction

       This is an action filed by Plaintiff on May 7, 2015 against Tania Nanna, the United States

Department of Agriculture and Secretary Tom Vilsack, alleging a cause of action under the

Federal Tort Claims Act for injuries allegedly arising out of an automobile accident.

       The above described action is a civil action which involves the interests of the United

States. The Federal Tort Claims Act (FTCA), 28 U.S.C. '' 1346(b), 2401(b), 2671-2680, is a

limited waiver of sovereign immunity and the exclusive remedy for negligent or wrongful acts or

omissions of federal employees. The FTCA is thus the basis for tort claims against government

employees, whether they are members of the uniformed services or civil service employees.

       Plaintiff alleges she sustained injuries as a result of an automobile accident involving a

government vehicle driven by Tania Nanna. Tania Nanna was a federal employee at the time of

the automobile accident in the course and scope of her employment. (Doc. 1, & 3). She was

acting within the scope of employment, and the matter comes within the ambit of the Act. When

a federal employee acting within the scope of her employment is sued for alleged negligent or
wrongful acts or omissions, the provisions of 28 U.S.C. ' 2679 require that the United States be

substituted in place of the federal employee as the proper defendant. Accordingly, the United

States should be substituted for Tania Nanna, the United States Department of Agriculture and

Secretary Tom Vilsack. They should be dismissed from this action as to any and all claims of

negligent or wrongful acts or omissions.

                                       II.     Argument

       A.       Tania Nanna is Not a Proper Party Defendant.

       Plaintiff has alleged that Tania Nanna was acting within the course and scope of her

employment with the United States Department of Agriculture. (Doc. 1, & 3). If an individual

defendant is found to have been acting within the course and scope of his employment, the United

States is automatically substituted for the defendant, who is then dismissed from the action

pursuant to the Federal Employees Liability Reform and Tort Compensation Act of 1988

(commonly known as the AWestfall@ Act). See 28 U.S.C. ' 2679(b); Rodriguez v. Sarabyn, et al,

129 F.3d 760, 764 (5th Cir. 1997).

       As the Supreme Court observed in Westfall v. Erwin, 484 U.S. 292, 300, 108 S.Ct. 580,

98 L.Ed. 2d 619 (1988), ACongress is in the best position to provide guidance for the complex and

often highly empirical inquiry into whether absolute immunity is warranted in a particular

context@. In Westfall, the Supreme Court applied the immunity of the FTCA only to acts

committed by federal employees within the course and scope of their employment that required the

exercise of government discretion. Id. at 299. After Westfall, Congress passed the Westfall Act to

immunize all acts done within the scope of a federal employee=s employment, without any

additional requirements.
        There is no dispute in this matter that Tania Nanna was acting within the course and scope

of employment with the Department of Agriculture at the time of the accident relevant to the

Petition for Damages in this case. Therefore, Tania Nanna must be dismissed, and the United

States, should be substituted in place of the individual federal defendant.

        B.      The United States Department of Agriculture and Secretary Tom Vilsack are
                not Proper Defendants.

        It is axiomatic that the sovereign cannot be sued without its consent to be sued, United

States v. Sherwood, 312 U.S. 584 (1941), and the terms of that consent defined the federal court=s

jurisdiction to entertain such suit. United States v. Testan, 424 U.S. 392 (1976). The Federal

Tort Claims Act (AFTCA@) is the exclusive waiver of sovereign immunity for actions sounding in

tort against the United States, its agencies and/or officers acting within their official capacity. J. D.

Pflaumer v. United States Department of Justice, 450 F.Supp. 1122, 1125, n. 11(e.d. PA. 1978).

        The FTCA provides that the United States is the only proper defendant in suit brought

pursuant to the act. 28 U.S.C. ' 1346(b) and ' 2679(a); Allen v. Veterans Administration, 749

F.2d 1386, 1388 (9th Cir. 1984); Carr v. Veterans Administration, 522 F.2d 1355 (5th Cir. 1975).

Individual federal agencies of the United States may not be sued in their own names. Thus, the

United States is the only appropriate defendant in this case, and this court lacks subject matter

jurisdiction over any claims asserted against Tania Nanna, the United States Department of

Agriculture and Secretary Tom Vilsack. The United States of America should be substituted in

place of these defendants.




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                                      III.      Conclusion

       For the foregoing reasons, Tania Nanna, the United States Department of Agriculture and

Secretary Tom Vilsack, should be dismissed as defendants. Furthermore, the United States

should be substituted in this matter as the only proper party defendant.

                                              Respectfully submitted,

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